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   7                        UNITED STATES DISTRICT COURT

   8                       CENTRAL DISTRICT OF CALIFORNIA

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  10    JAMES EDWARD CLARK,                        Case No. 2:21-cv-02485-CAS-AFM
  11                        Petitioner,
                                                   ORDER ACCEPTING FINDINGS
  12          v.
                                                   AND RECOMMENDATIONS OF
        THAHESHA JUSINO, Warden,                   UNITED STATES MAGISTRATE
  13
                                                   JUDGE
  14                        Respondent.
  15

  16         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition for Writ of
  17   Habeas Corpus, records on file and the Report and Recommendation of United States
  18   Magistrate Judge. Further, the Court has engaged in a de novo review of those
  19   portions of the Report to which Petitioner has objected and Respondent’s reply. The
  20   Court accepts the findings and recommendation of the Magistrate Judge.
  21         IT THEREFORE IS ORDERED that Judgment be entered (1) granting
  22   Respondent’s Motion to Dismiss; and (2) denying the Petition and dismissing the
  23   action without prejudice for lack of jurisdiction.
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  25   DATED: November 4, 2021
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                                               ________                  ________
  27                                                  CHRISTINA A. SNYDER
                                                 UNITED STATES DISTRICT JUDGE
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